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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION

UNITED STATES OF AMERICA                      )      Criminal Case No. 3:04cr00047-1
                                              )
v.                                            )      2255 FINAL ORDER
                                              )
LOUIS ANTONIO BRYANT                          )      By: Norman K. Moon
                                              )      United States District Judge


       In accordance with the Memorandum Opinion entered this day, it is hereby ORDERED

and ADJUDGED that the United States’ motion to dismiss (Docket No. 1561) is GRANTED;

Bryant’s motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255 (Docket

No. 1481) is DISMISSED; and this matter is STRICKEN from the active docket of the court.

       Further, the court finds that Bryant has not made the requisite showing of the substantial

denial of a constitutional right as required by 28 U.S.C. § 2253(c) and, therefore, a certificate of

appealability is DENIED.

       ENTER: This 31st day of January, 2013.
